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November 6, 2020

VIA ECF

Honorable George B. Daniels
United States District Court Judge SO ORDERED:

United States District Court for the Southern District of New York
500 Pearl Street, Room 1310 & Dank
Daniels, U.S.D.J.

New York, New York 10007
Re: Virtu Financial, Inc. v. Axis Insurance Company, ; c
Case No. 1:20-cv-06293-GBD Dated:__iNOV 0 9 2099

Dear Judge Daniels:

 
    

 

On behalf of AXIS Insurance Co. (“AXIS”), we write pursuant to Your Honor’s Individual
Rules of Practice Rule I.D.ii to respectfully request permission to redact certain information and
file certain documents under seal in connection with its Reply to Plaintiffs Virtu Financial, Inc.
and Virtu Americas, LLC (together “Virtu”)’s Opposition to AXIS’s Cross-Motion for Judgment
on the Pleadings Dismissing Counts IT and HI of the Complaint.

On October 19, 2020, the Court granted Virtu’s request to redact certain sensitive
information from its Motion for Partial Summary Judgment. On October 26, 2020, the Court
granted AXIS’s request to redact certain sensitive information from its Opposition to Virtu’s
Motion for Partial Summary Judgment and AXIS’s Cross-Motion for Judgment on the Pleadings
Dismissing Counts IT and III of the Complaint. On November 4, 2020, the Court granted Virtu’s
request to redact certain sensitive information from its Reply in Support of Its Motion for Partial
Summary Judgment. In AXIS’s Reply to Virtu’s Opposition to AXIS’s Cross-Motion for
Judgment on the Pleadings Dismissing Counts II and HI of the Complaint, AXIS has referred to
the same information that has been redacted in the parties’ previous briefing.

Accordingly, on these grounds, AXIS respectfully requests this Court to grant the
permission to redact certain information and file certain documents as described above under seal.
 

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DLA PIPER

All counsel of record via ECF

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Respectfully submitted,

/s/ Joseph G. Finnerty I

Joseph G. Finnerty HI

 
